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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE TERRORIST ATTACKS ON Civil Action No.
SEPTEMBER 11, 2001 03 MDL 1570 (GBD) (SN)

This document relates to:

Burnett, et al. v. Al Baraka Investment and Development Corp., et al.,

Case No. 03-CV-9849 (GBD)(SN)

Euro Brokers Inc., et al. v. Al Baraka Investment and Development Corp., et al.,
Case No. 04-CV-7279 (GBD)(SN)

Burnett, et al. v. The Islamic Republic of Iran, et al., Case No. 15-CV-9903 (GBD)(SN)
Adams, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11493 (GBD)(SN)
Actisdano, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11504 (GBD)(SN)
Anderson, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11509 (GBD)(SN)
Abraham, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11515 (GBD)(SN)
Abrahams, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11519 (GBD)(SN)
Arias, et al. v, Kingdom of Saudi Arabia, Case No. 18-CV-11582 (GBD)(SN)
Agri, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11619 (GBD)(SN)
Barrera, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11624 (GBD)\(SN)
Ando, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-11664 (GBD)(SN)
Aepelbacher, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-12030 (GBD)SN)
Adam, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-12118 (GBD)(SN)
Abreu, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-12318 (GBD)(SN)
Parks, et al. v. Kingdom of Saudi Arabia, Case No. 18-CV-12322 (GBD)(SN)
Odland, et al. v. Kingdom of Saudi Arabia, Case No. 19-CV-26 (GBD)(SN)
Arias, et al. v. The Islamie Republic of Iran, Case No. 19-CV-41 (GBD)(SN)
Prior, et al. v. The Islamic Republic of Iran, Case No. 19-CV-44 (GBD)(SN)
Ortiz v. The Islamic Republic of Iran, 22-cv-03100 (GBD)

MOTION FOR ADMISSION PRO HAC VICE

Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the
Southern District of New York, I, Louis Bograd, hereby move this Court for an Order for
admission to practice pro hac vice to appear as counsel for Plaintiffs in the above-captioned

matters.

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Iam a member in good standing of the bars of the State of Kentucky and the District
of Columbia. There are no pending disciplinary proceedings against me in any state or

federal court. I have never been convicted of a felony. I have never been censured,

suspended, disbarred or denied admission or readmission by any court. I have attached an

affidavit pursuant to Local Rule 1.3.

Date: June 26, 2024 Respectfully Submitted,

Louis Bograd |
MOTLEY RICE

401 9th St. NW, Suite 630
Washington, DC 20004
Telephone: (202) 386-9623
Email: lbograd@motleyrice.com

